Case 2:20-cr-00052-DCN Document 94 Filed 10/13/22 Page 1 of 2

JACK A. MOSBY, ISB NO.10986

RAMSDEN, MARFICE, EALY & DE SMET, LLP
700 Northwest Boulevard

Coeur d’ Alene, ID 83816-1336

Telephone: (208) 664-5818

Facsimile: (208) 664-5884

jmosby@rmedlaw.com

Attorneys for Victims Keith Sims and Kasco of Idaho, LLC

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO
UNITED STATES OF AMERICA, Case No. 2:20-cr-00052-DCN
Plaintiff, ABSTRACT OF JUDGMENT
vs.
TRINA MARIE WELCH,

Defendant.

 

 

Pursuant to 18 U.S.C. § 3664(m)(1)(B), Keith Sims and Kasco of Idaho, LLC, the
victims named in the Judgment in a Criminal Case issued in United States of America v. Trina
Marie Welch, Case No. 0976 2:20-cr-00052-DCN, USM #05332-204, has requested that the
Clerk of Court issue this Abstract of Judgment certifying that a judgment has been entered in
favor of the United States of America in the amount specified in Judgment.

NOTICE

Upon registering, recording, docketing, or indexing this Abstract of Judgment in

accordance with the rules and requirements relating to judgments of the court of the State

where the district court is located, this Abstract of Judgment shall be a lien on the property of

ABSTRACT OF JUDGMENT - 1

 
Case 2:20-cr-00052-DCN Document 94 Filed 10/13/22 Page 2 of 2

Trina Welch in such State in the same manner and to the same extent under the same conditions
as a judgment of a court of general jurisdiction in that State.

Name and Address of Parties Against Whom Judgment Has Been Obtained

Trina Marie Welch

c/o Federal Bureau of Prisons

5701 8th St - Camp Parks

Dublin, Ca 94568

Names of Parties in Whose Favor Judgment Has Been Obtained

Kasco of Idaho, LLC ~ $2,678,642.62
Keith Sims

Alaska National Insurance - $1,000,000.00
Total Amount of Judgment: $3,678,642.62

 

Creditor’s Kasco of Idaho LLC’s Attorney: Jack A. Mosby, Ramsden, Marfice, Ealy

& De Smet, LLP, PO Box 1336, Coeur d’ Alene, ID 83816-1336.
When Docketed: 9/19/2022, and Amended ovr 1013/2023,

UNITED STATES OF AMERICA, CLERK’S OFFICE
U.S. DISTRICT COURT FOR THE DISTRICT OF IDAHO.
I CERTIFY that the foregoing is a correct Abstract of Judgment entered or registered

by this Court.

Dated this 3am \Y day of October, 2022. 9
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Please return to: Jack A. Mosby, Ramsden, Marfice, Ealy & De Smet, LLP, PO Box 1336,
Coeur d’ Alene, ID 83816-1336.

ABSTRACT OF JUDGMENT - 2
